          Case 3:20-cr-00042-GMG-RWT Document 70 Filed 10/18/21 Page 1 of 7 PageID #: 687
AO 245B (Rev.
$2%      09/19) Judgment
         5HY            in a Criminal Case
                      -XGJPHQWLQD&ULPLQDO&DVH
                      6KHHW



                                         81,7('67$7(6',675,&7&2857
                                              NORTHERN  DISTRICT OF WEST VIRGINIA
                                                  BBBBBBBBBB'LVWULFWRIBBBBBBBBBB
              81,7('67$7(62)$0(5,&$                                            JUDGMENT IN A CRIMINAL CASE
                                  v.                                        
                  TIMOTHY JOHN WATSON                                       
                                                                                    &DVH1XPEHU 3:20CR42
                                                                            
                                                                                   8601XPEHU 15608-509
                                                                            
                                                                                    Shawn McDermott and Kevin D. Mills
                                                                                   'HIHQGDQW¶V$WWRUQH\
THE DEFENDANT:
✔ SOHDGHGJXLOW\WRFRXQW V
*                                      Four (4)

* SOHDGHGQRORFRQWHQGHUHWRFRXQW V
   ZKLFKZDVDFFHSWHGE\WKHFRXUW
* ZDVIRXQGJXLOW\RQFRXQW V
   DIWHUDSOHDRIQRWJXLOW\

7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

Title & Section                   Nature of Offense                                                         Offense Ended                Count
 26 U.S.C. §§ 5861(d)              Possession of Unregistered Firearm Silencer                                11/02/2020                   Four

 and 5871




 * 6HHDGGLWLRQDOFRXQW V RQSDJH
       7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHVWKURXJK               7      RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWR
WKH6HQWHQFLQJ5HIRUP$FWRI
 * 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
 ✔Counts One, Two, and Three are dismissed on the motion of the United States.
 *
        It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
             address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid.    If ordered to pay
RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG ,IRUGHUHGWRSD\UHVWLWXWLRQ
restitution,  the defendant must notify the court and United States attorney of material changes in economic circumstances.
WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                                           October 13, 2021
                                                                          'DWHRI,PSRVLWLRQRI-XGJPHQW




                                                                          6LJQDWXUHRI-XGJH




                                                                           Honorable Gina M. Groh, Chief United States District Judge
                                                                          1DPHDQG7LWOHRI-XGJH


                                                                          October 18, 2021
                                                                          'DWH
            Case 3:20-cr-00042-GMG-RWT Document 70 Filed 10/18/21 Page 2 of 7 PageID #: 688
AO 245B (Rev.
 $2%     09/19) -XGJPHQWLQ&ULPLQDO&DVH
          5HY    Judgment in a Criminal Case
                        6KHHW²,PSULVRQPHQW

                                                                                                            -XGJPHQW²3DJH   2         RI   7
  '()(1'$17 TIMOTHY JOHN WATSON
  &$6(180%(5 3:20CR42
                                                                 IMPRISONMENT
          7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH)HGHUDO%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUDWRWDO
 WHUPRI Sixty (60) months


        *
        ✔ 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV
          * 7KDWWKHGHIHQGDQWEHLQFDUFHUDWHGDWDQ)&,RUDIDFLOLW\DVFORVHWRBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBDVSRVVLEOH
              * DQGDWDIDFLOLW\ZKHUHWKHGHIHQGDQWFDQSDUWLFLSDWHLQVXEVWDQFHDEXVHWUHDWPHQWDVGHWHUPLQHGE\WKH%XUHDXRI3ULVRQV
                   * LQFOXGLQJWKH+RXU5HVLGHQWLDO'UXJ$EXVH7UHDWPHQW3URJUDP
            ✔
            *    7KDWWKHGHIHQGDQWEHLQFDUFHUDWHGDWBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBRUDIDFLOLW\DVFORVHWRKLVKHUKRPHLQ
                                                       FCI Morgantown
                 Baker, West Virginia
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBDVSRVVLEOH
                 *✔ DQGDWDIDFLOLW\ZKHUHWKHGHIHQGDQWFDQSDUWLFLSDWHLQVXEVWDQFHDEXVHWUHDWPHQWDVGHWHUPLQHGE\WKH%XUHDXRI3ULVRQV
                       *✔ LQFOXGLQJWKH+RXU5HVLGHQWLDO'UXJ$EXVH7UHDWPHQW3URJUDP
            ✔
            *    That the defendant be given credit for time served from November 2, 2020, to the present.
                 ✔
                 *       That the defendant be transported from the Eastern Regional Jail to an FCI or facility as soon as possible.
            ✔ 7KDWWKHGHIHQGDQWEHDOORZHGWRSDUWLFLSDWHLQDQ\HGXFDWLRQDORUYRFDWLRQDORSSRUWXQLWLHVZKLOHLQFDUFHUDWHGDVGHWHUPLQHGE\
            *
                 WKH%XUHDXRI3ULVRQV
        ✔
        *   3XUVXDQWWR86&$WKHGHIHQGDQWVKDOOVXEPLWWR'1$FROOHFWLRQZKLOHLQFDUFHUDWHGLQWKH%XUHDXRI3ULVRQV
            RUDWWKHGLUHFWLRQRIWKH3UREDWLRQ2IILFHU
        ✔ 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO
        *
        * 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
            *    DW                                  * DP      * SP         RQ                                             

            * DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

        *   7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV

             * EHIRUH 12:00 pm (noon) BBBBBBBBBBBBBBBBBBBBBBBBB
                                          on                                    
             * DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO
             *    DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH
             *    RQBBBBBBBBBBBBBBBBBBBBBBBDVGLUHFWHGE\WKH8QLWHG6WDWHV0DUVKDOV6HUYLFH

        *
                                                                       RETURN
  ,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV

            'HIHQGDQWGHOLYHUHGRQ                                                            WR

  DW                                                     ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



                                                                                                          81,7('67$7(60$56+$/


                                                                                %\
                                                                                                       '(387<81,7('67$7(60$56+$/
          Case 3:20-cr-00042-GMG-RWT Document 70 Filed 10/18/21 Page 3 of 7 PageID #: 689
AO 245B (Rev.
$2%      09/19) -XGJPHQWLQD&ULPLQDO&DVH
         5HY   Judgment in a Criminal Case
                      6KHHW²6XSHUYLVHG5HOHDVH
                                                                                                        -XGJPHQW²3DJH   3    RI       7
'()(1'$17 TIMOTHY JOHN WATSON
&$6(180%(5 3:20CR42
                                                       SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQW\RXZLOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI Three (3) years




                                                      MANDATORY CONDITIONS

    <RXPXVWQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
    <RXPXVWQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH
    <RXPXVWUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHGVXEVWDQFH<RXPXVWVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURP
      LPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWVWKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
             * 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW VGHWHUPLQDWLRQWKDW\RX
                 SRVHDORZULVNRIIXWXUHVXEVWDQFHDEXVH FKHFNLIDSSOLFDEOH
      * <RXPXVWPDNHUHVWLWXWLRQLQDFFRUGDQFHZLWK86&DQG$RUDQ\RWKHUVWDWXWHDXWKRUL]LQJDVHQWHQFHRI
          UHVWLWXWLRQ FKHFNLIDSSOLFDEOH
      ✔
        * <RXPXVWFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(check if applicable)
      * <RXPXVWFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW 86&et seq DV
             GLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQWKHORFDWLRQZKHUH\RX
             UHVLGHZRUNDUHDVWXGHQWRUZHUHFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(check if applicable)
      * <RXPXVWSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(check if applicable)


 <RXPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWLQLWV1RYHPEHU6WDQGLQJ2UGHUDVZHOO
 DVZLWKDQ\RWKHUFRQGLWLRQVRQWKHDWWDFKHGSDJH LIDSSOLFDEOH 
         Case 3:20-cr-00042-GMG-RWT Document 70 Filed 10/18/21 Page 4 of 7 PageID #: 690
AO 245B (Rev.
$2%      09/19) Judgment
         5HY)          in a Criminal Case
                     -XGJPHQWLQD&ULPLQDO&DVH
                     6KHHW$²6XSHUYLVHG5HOHDVH
                                                                                              -XGJPHQW²3DJH       4        RI        7
'()(1'$17 TIMOTHY JOHN WATSON
&$6(180%(5 3:20CR42

                                      STANDARD CONDITIONS OF SUPERVISION
$VSDUWRI\RXUVXSHUYLVHGUHOHDVH\RXPXVWFRPSO\ZLWKWKHIROORZLQJVWDQGDUGFRQGLWLRQVRIVXSHUYLVLRQ7KHVHFRQGLWLRQVDUHLPSRVHG
EHFDXVHWKH\HVWDEOLVKWKHEDVLFH[SHFWDWLRQVIRU\RXUEHKDYLRUZKLOHRQVXSHUYLVLRQDQGLGHQWLI\WKHPLQLPXPWRROVQHHGHGE\SUREDWLRQ
RIILFHUVWRNHHSLQIRUPHGUHSRUWWRWKHFRXUWDERXWDQGEULQJDERXWLPSURYHPHQWVLQ\RXUFRQGXFWDQGFRQGLWLRQ
.    <RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHIHGHUDOMXGLFLDOGLVWULFWZKHUH\RXDUHDXWKRUL]HGWRUHVLGHZLWKLQKRXUVRI\RXU
      UHOHDVHIURPLPSULVRQPHQWXQOHVVWKHSUREDWLRQRIILFHULQVWUXFWV\RXWRUHSRUWWRDGLIIHUHQWSUREDWLRQRIILFHRUZLWKLQDGLIIHUHQWWLPH
      IUDPH
.    $IWHULQLWLDOO\UHSRUWLQJWRWKHSUREDWLRQRIILFH\RXZLOOUHFHLYHLQVWUXFWLRQVIURPWKHFRXUWRUWKHSUREDWLRQRIILFHUDERXWKRZDQGZKHQ
      \RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDQG\RXPXVWUHSRUWWRWKHSUREDWLRQRIILFHUDVLQVWUXFWHG
.    <RXVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
4.    <RXVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH<RXVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHGVXEVWDQFH<RXVKDOO
      VXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWVWKHUHDIWHUDVGHWHUPLQHGE\WKH
      SUREDWLRQRIILFHU
    <RXPXVWQRWNQRZLQJO\OHDYHWKHIHGHUDOMXGLFLDOGLVWULFWZKHUH\RXDUHDXWKRUL]HGWRUHVLGHZLWKRXWILUVWJHWWLQJSHUPLVVLRQIURPWKH
      FRXUWRUWKHSUREDWLRQRIILFHU
    <RXPXVWDQVZHUWUXWKIXOO\WKHTXHVWLRQVDVNHGE\\RXUSUREDWLRQRIILFHU
    <RXPXVWOLYHDWDSODFHDSSURYHGE\WKHSUREDWLRQRIILFHU,I\RXSODQWRFKDQJHZKHUH\RXOLYHRUDQ\WKLQJDERXW\RXUOLYLQJ
      DUUDQJHPHQWV VXFKDVWKHSHRSOH\RXOLYHZLWK \RXPXVWQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJ
      WKHSUREDWLRQRIILFHULQDGYDQFHLVQRWSRVVLEOHGXHWRXQDQWLFLSDWHGFLUFXPVWDQFHV\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQ
      KRXUVRIEHFRPLQJDZDUHRIDFKDQJHRUH[SHFWHGFKDQJH
    <RXPXVWDOORZWKHSUREDWLRQRIILFHUWRYLVLW\RXDWDQ\WLPHDW\RXUKRPHRUHOVHZKHUHDQG\RXPXVWSHUPLWWKHSUREDWLRQRIILFHUWR
      WDNHDQ\LWHPVSURKLELWHGE\WKHFRQGLWLRQVRI\RXUVXSHUYLVLRQWKDWKHRUVKHREVHUYHVLQSODLQYLHZ
    <RXPXVWZRUNIXOOWLPH DWOHDVWKRXUVSHUZHHN DWDODZIXOW\SHRIHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHV\RXIURP
      GRLQJVR,I\RXGRQRWKDYHIXOOWLPHHPSOR\PHQW\RXPXVWWU\WRILQGIXOOWLPHHPSOR\PHQWXQOHVVWKHSUREDWLRQRIILFHUH[FXVHV
      \RXIURPGRLQJVR,I\RXSODQWRFKDQJHZKHUH\RXZRUNRUDQ\WKLQJDERXW\RXUZRUN VXFKDV\RXUSRVLWLRQRU\RXUMRE
      UHVSRQVLELOLWLHV \RXPXVWQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWGD\VEHIRUHWKHFKDQJH,IQRWLI\LQJWKHSUREDWLRQRIILFHUDWOHDVW
      GD\VLQDGYDQFHLVQRWSRVVLEOHGXHWRXQDQWLFLSDWHGFLUFXPVWDQFHV\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUVRI
      EHFRPLQJDZDUHRIDFKDQJHRUH[SHFWHGFKDQJH
   <RXPXVWQRWFRPPXQLFDWHRULQWHUDFWZLWKVRPHRQH\RXNQRZLVHQJDJHGLQFULPLQDODFWLYLW\,I\RXNQRZVRPHRQHKDVEHHQ
      FRQYLFWHGRIDIHORQ\\RXPXVWQRWNQRZLQJO\FRPPXQLFDWHRULQWHUDFWZLWKWKDWSHUVRQZLWKRXWILUVWJHWWLQJWKHSHUPLVVLRQRIWKH
      SUREDWLRQRIILFHU
   ,I\RXDUHDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU\RXPXVWQRWLI\WKHSUREDWLRQRIILFHUZLWKLQKRXUV
.   <RXPXVWQRWRZQSRVVHVVRUKDYHDFFHVVWRDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUGDQJHURXVZHDSRQ LHDQ\WKLQJWKDWZDV
      GHVLJQHGRUZDVPRGLILHGIRUWKHVSHFLILFSXUSRVHRIFDXVLQJERGLO\LQMXU\RUGHDWKWRDQRWKHUSHUVRQVXFKDVQXQFKDNXVRUWDVHUV 
.   <RXPXVWQRWDFWRUPDNHDQ\DJUHHPHQWZLWKDODZHQIRUFHPHQWDJHQF\WRDFWDVDFRQILGHQWLDOKXPDQVRXUFHRULQIRUPDQWZLWKRXW
      ILUVWJHWWLQJWKHSHUPLVVLRQRIWKHFRXUW
.   ,IWKHSUREDWLRQRIILFHUGHWHUPLQHVWKDW\RXSRVHDULVNWRDQRWKHUSHUVRQ LQFOXGLQJDQRUJDQL]DWLRQ WKHSUREDWLRQRIILFHUPD\
      UHTXLUH\RXWRQRWLI\WKHSHUVRQDERXWWKHULVNDQG\RXPXVWFRPSO\ZLWKWKDWLQVWUXFWLRQ7KHSUREDWLRQRIILFHUPD\FRQWDFWWKH
      SHUVRQDQGFRQILUPWKDW\RXKDYHQRWLILHGWKHSHUVRQDERXWWKHULVN
   <RXVKDOOQRWSXUFKDVHSRVVHVVRUFRQVXPHDQ\RUJDQLFRUV\QWKHWLFLQWR[LFDQWVLQFOXGLQJEDWKVDOWVV\QWKHWLFFDQQDELQRLGVRURWKHU
      GHVLJQHUVWLPXODQWV
   <RXVKDOOQRWIUHTXHQWSODFHVWKDWVHOORUGLVWULEXWHV\QWKHWLFFDQQDELQRLGVRURWKHUGHVLJQHUVWLPXODQWV
   8SRQUHDVRQDEOHVXVSLFLRQE\WKHSUREDWLRQRIILFHU\RXVKDOOVXEPLW\RXUSHUVRQSURSHUW\KRXVHUHVLGHQFHYHKLFOHSDSHUV
      FRPSXWHUVRURWKHUHOHFWURQLFFRPPXQLFDWLRQVRUGDWDVWRUDJHGHYLFHVRUPHGLDRURIILFHWRDVHDUFKFRQGXFWHGE\D8QLWHG6WDWHV
      3UREDWLRQ2IILFHU)DLOXUHWRVXEPLWWRDVHDUFKPD\EHJURXQGVIRUUHYRFDWLRQRIUHOHDVH<RXVKDOOZDUQDQ\RWKHURFFXSDQWVWKDW
      WKHSUHPLVHVPD\EHVXEMHFWWRVHDUFKHVSXUVXDQWWRWKLVFRQGLWLRQ
   <RXDUHSURKLELWHGIURPSRVVHVVLQJDSRWHQWLDOO\YLFLRXVRUGDQJHURXVDQLPDORUUHVLGLQJZLWKDQ\RQHZKRSRVVHVVDSRWHQWLDOO\
      YLFLRXVRUGDQJHURXVDQLPDO7KHSUREDWLRQRIILFHUKDVVROHDXWKRULW\WRGHWHUPLQHZKDWDQLPDOVDUHFRQVLGHUHGWREH
      SRWHQWLDOO\YLFLRXVRUGDQJHURXV
   <RXPXVWIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHUUHODWHGWRWKHFRQGLWLRQVRIVXSHUYLVLRQ

U.S. Probation Office Use Only
$86SUREDWLRQRIILFHUKDVLQVWUXFWHGPHRQWKHFRQGLWLRQVVSHFLILHGE\WKHFRXUWDQGKDVSURYLGHGPHZLWKDZULWWHQFRS\RIWKLV
MXGJPHQWFRQWDLQLQJWKHVHFRQGLWLRQV)RUIXUWKHULQIRUPDWLRQUHJDUGLQJWKHVHFRQGLWLRQVVHHOverview of Probation and Supervised
Release ConditionsDYDLODEOHDWZZZXVFRXUWVJRY


'HIHQGDQW V6LJQDWXUH                                                                                  'DWH
        Case 3:20-cr-00042-GMG-RWT Document 70 Filed 10/18/21 Page 5 of 7 PageID #: 691
AO 245B (Rev.
$2%      09/19) Judgment
         5HY)          in a Criminal Case
                     -XGJPHQWLQD&ULPLQDO&DVH
                     6KHHW'²6XSHUYLVHG5HOHDVH
                                                                                                -XGJPHQW²3DJH    5     RI      7
'()(1'$17 TIMOTHY JOHN WATSON
&$6(180%(5 3:20CR42

                                      41&$*"- CONDITIONS OF SUPERVISION

    <RXPXVWVXEPLWWRVXEVWDQFHDEXVHWHVWLQJWRGHWHUPLQHLI\RXKDYHXVHGDSURKLELWHGVXEVWDQFH<RXPXVWQRWDWWHPSW
   WRREVWUXFWRUWDPSHUZLWKWKHWHVWLQJPHWKRGV7KHFRXUWGLUHFWVWKHGHIHQGDQW VEORRGEHWHVWHGDWKLVH[SHQVHLIKHFDQQRW
   SURYLGHDXULQHVDPSOHGXHWRKLVGLDJQRVLVRIVK\EODGGHUV\QGURPH

    8QOHVV H[FXVHG IRU OHJLWLPDWH UHDVRQV LI QRW LQ FRPSOLDQFH ZLWK WKH FRQGLWLRQ RI VXSHUYLVLRQ UHTXLULQJ IXOOWLPH
   HPSOR\PHQWDWDODZIXORFFXSDWLRQ\RXPD\EHUHTXLUHGWRSHUIRUPXSWRKRXUVRIFRPPXQLW\VHUYLFHSHUZHHNXQWLO
   HPSOR\HGDVDSSURYHGE\WKHSUREDWLRQRIILFHU
          Case 3:20-cr-00042-GMG-RWT Document 70 Filed 10/18/21 Page 6 of 7 PageID #: 692
AO 245B (Rev.
$2%      09/19) -XGJPHQWLQD&ULPLQDO&DVH
         5HY   Judgment in a Criminal Case
                      6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
                                                                                                    -XGJPHQW²3DJH     6      RI        7
 '()(1'$17 TIMOTHY JOHN WATSON
 &$6(180%(5 3:20CR42
                                               CRIMINAL MONETARY PENALTIES
      7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                    Assessment          5HVWLWXWLRQ      )LQH               $9$$$VVHVVPHQW                 -97$$VVHVVPHQW
 TOTALS         $ 100.00                 $ 0.00                $ 0.00                $ 0.00                         $ 0.00


 * 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO                  . $Q Amended Judgment in a Criminal Case (AO 245C) ZLOO EH HQWHUHG
      DIWHUVXFKGHWHUPLQDWLRQ

 * 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
      ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVH
      LQWKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEH
      SDLGEHIRUHWKH8QLWHG6WDWHVLVSDLG
      7KHYLFWLP VUHFRYHU\LVOLPLWHGWRWKHDPRXQWRIWKHLUORVVDQGWKHGHIHQGDQW VOLDELOLW\IRUUHVWLWXWLRQFHDVHVLIDQGZKHQWKHYLFWLP
      UHFHLYHVIXOOUHVWLWXWLRQ
 Name of Payee                                                     Total Loss**             Restitution Ordered        Priority or Percentage




 TOTALS                                                                                    
 *     6HH6WDWHPHQWRI5HDVRQVIRU9LFWLP,QIRUPDWLRQ

 * 5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW 

 * 7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
       ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
       WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

 * 7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW
       * WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH * ILQH * UHVWLWXWLRQ
       * WKHLQWHUHVWUHTXLUHPHQWIRUWKH * ILQH * UHVWLWXWLRQLVPRGLILHGDVIROORZV
  $P\9LFN\DQG$QG\&KLOG3RUQRJUDSK\9LFWLP$VVLVWDQFH$FWRI3XE/1R
    -XVWLFHIRU9LFWLPVRI7UDIILFNLQJ$FWRI3XE/1R
      )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRURIIHQVHVFRPPLWWHGRQ
 RUDIWHU6HSWHPEHUEXWEHIRUH$SULO
         Case 3:20-cr-00042-GMG-RWT Document 70 Filed 10/18/21 Page 7 of 7 PageID #: 693
AO 245B (Rev.
$2%      09/19) Judgment
         5HY)          in a Criminal Case
                     -XGJPHQWLQD&ULPLQDO&DVH
                     6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                               -XGJPHQW²3DJH      7      RI          7
 '()(1'$17 TIMOTHY JOHN WATSON
 &$6(180%(5 3:20CR42

                                                       SCHEDULE OF PAYMENTS

 +DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVLVGXHDVIROORZV

$    ✔ /XPSVXPSD\PHQWRI            100.00               GXHLPPHGLDWHO\EDODQFHGXH
      *
       * QRWODWHUWKDQ                               RU
       ✔
       * LQDFFRUGDQFHZLWK * & * ' *(*     ✔)RU**EHORZRU

% * 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK     * & *' *)RU**EHORZ RU

 &   * 3D\PHQWLQHTXDO                            (e.g., weekly, monthly, quarterly) LQVWDOOPHQWVRI                           RYHUDSHULRGRI
                           (e.g., months or years)WRFRPPHQFH                      (e.g., 30 or 60 days)DIWHUWKHGDWHRIWKLVMXGJPHQWRU

 '   * 3D\PHQWLQHTXDO                            (e.g., weekly, monthly, quarterly)LQVWDOOPHQWVRI                        RYHUDSHULRGRI
                           (e.g., months or years)WRFRPPHQFH                      (e.g., 30 or 60 days)DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
            WHUPRIVXSHUYLVLRQRU
 (   * 3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                      (e.g., 30 or 60 days)DIWHUUHOHDVHIURP
            LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

 )   ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV 6SHFLDO$VVHVVPHQW)HHKDVEHHQSDLG
      *
            )LQDQFLDOREOLJDWLRQVRUGHUHGDUHWREHSDLGZKLOHWKHGHIHQGDQWLVLQFDUFHUDWHGDQGLISD\PHQWLVQRWFRPSOHWHGGXULQJ
            LQFDUFHUDWLRQLWLVWREHFRPSOHWHGE\WKHHQGRIWKHWHUPRIVXSHUYLVHGUHOHDVHRU
 *   * 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
           7KHGHIHQGDQWVKDOOLPPHGLDWHO\EHJLQPDNLQJUHVWLWXWLRQDQGRUILQHSD\PHQWVRIBBBBBBBBBBBBBBBSHUPRQWKGXHRQWKHILUVW
           RIHDFKPRQWK7KHVHSD\PHQWVVKDOOEHPDGHGXULQJLQFDUFHUDWLRQDQGLIQHFHVVDU\GXULQJVXSHUYLVHGUHOHDVH
 8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXH
 GXULQJWKHSHULRGRILPSULVRQPHQW$OOFULPLQDOPRQHWDU\SHQDOWLHVH[FHSWWKRVHSD\PHQWVPDGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶
 ,QPDWH)LQDQFLDO5HVSRQVLELOLW\3URJUDPDUHPDGHWR&OHUN86'LVWULFW&RXUW1RUWKHUQ'LVWULFWRI:HVW9LUJLQLD32%R[
 (ONLQV:9

 7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG


 G -RLQWDQG6HYHUDO
      &DVH1XPEHU
      'HIHQGDQWDQG&R'HIHQGDQW1DPHV                                                      -RLQWDQG6HYHUDO                &RUUHVSRQGLQJ3D\HH
       LQFOXGLQJGHIHQGDQWQXPEHU                          7RWDO$PRXQW                          $PRXQW                          LIDSSURSULDWH




 G 7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ
 G 7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 
 ✔
 G    7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV
      7KH3UHOLPLQDU\2UGHURI)RUIHLWXUHVKDOOEHPDGHSDUWRIWKLVVHQWHQFHDQGZLOOEHLQFRUSRUDWHGE\UHIHUHQFHLQWKHMXGJPHQWRUGHU

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5)
 5) fine principal, (6) fine interest (7)FRPPunity restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
